            Case 1:13-cv-11268-IT Document 1 Filed 05/28/13 Page 1 of 14
                                                                l' .
                                                                 '~    .




                             UNITED STATES DISTRICT COURT 

                                        FOR THE 

                              DISTRICT OF MASSACHUSETTS 



AMY GOOTT and                                     )
EUGENE GOOTT,                                     )
                                                  )
                      Plaintiffs                  )
                                                  )
v.                                                )             Civil Action No.:
                                                  )
                                                  )
LEFT BANK GALLERY, INC.;                          )

LEFT BANK GALLERY OF ORLEANS, INC.;               )

NEW ENGLAND CLAM PRODUCTS, INC.;                  )

AUDREY S. PARENT;                                 )

GERALD    PARENT;    and                          )

JOHN P. CLARK,                                    )

                                                  )

                      Defendants.                 )



                   COMPLAINT AND DEMAND FOR TRIAL BY JURY

                                   NATURE OF THE ACTION


       1.      The Plaintiffs, Amy and Eugene Goott, bring this action against the

Defendants, Left Bank Gallery, Inc.; Left Bank Gallery of Orleans, Inc.; New England

Clam Products, Inc.; Audrey S. Parent; Gerald E. Parent; and John P. Clark. This action

arises out of the negligence, carelessness and statutory violations of said Defendants,

as well as their reckless conduct, that caused the Plaintiffs' injuries when they were

struck by a motor vehicle.

                                          THE PARTIES

      2.       The Plaintiff, Amy Goott, is an individual residing in Bethesda, Maryland.




                                             1
                       THE REARDON LAW                           pc.
             Case 1:13-cv-11268-IT Document 1 Filed 05/28/13 Page 2 of 14
                             ,   ",   ,




        3.       The Plaintiff, Eugene Goott, is an individual residing in Bethesda,

Maryland.

        4.       On August 18, 2012, and at all times relevant herein, the Defendant, Left

Bank Gallery, Inc. [hereinafter "Left Bank Gallery"], was and is a Massachusetts

corporation existing under the laws of the Commonwealth of Massachusetts, with its

principal place of business at 1 West Main Street, Wellfleet, Massachusetts.

        5.       On August 18, 2012, and at all times relevant herein, the Defendant, Left

Bank Gallery of Orleans, Inc. [hereinafter "Left Bank Gallery of Orleans"], was and is a

Massachusetts corporation existing under the laws of the Commonwealth of

Massachusetts, with its principal place of business at 8 Cove Road, Orleans,

Massach usetts.

        6.      On August 18, 2012, and at all times relevant herein, the Defendant, New

England Clam Products, Inc. [hereinafter "New England Clam Products"], was and is a

Massachusetts corporation existing under the laws of the Commonwealth of

Massachusetts, with its principal place of business at 125 Bittersweet Farm Road, P.O.

Box 700, Wellfleet, Massachusetts.

       7.       On August 18, 2012, and at all times relevant herein, the Defendant,

Audrey S. Parent, was and is an individual residing in Wellfleet, Massachusetts.

       8.       On August 18, 2012, and at all times relevant herein, the Defendant,

Gerald E. Parent, was and is an individual residing in Wellfleet, Massachusetts

       9.       On August 18, 2012, and at all times relevant herein, the Defendant, John

P. Clark, was and is an individual residing in Truro, Massachusetts.

                                          JURISDICTION AND VENUE




                          THE                                      FIRM           P.C.
                                                   orneys a
  160 Hempstead Street   P.O. Dm'Ver 1430    e   New London, CT 06320   0   Tel. (860) 442-0444 e Juris No. J02515
            Case 1:13-cv-11268-IT Document 1 Filed 05/28/13 Page 3 of 14



        10.       Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. §1332(a)

because there is complete diversity between the parties and the amount in controversy,

without interest and costs, exceeds the sum or value specified by 28 U.S.C. § 1332.

        11.       Venue is proper in the District of Massachusetts pursuant to 28 U.S.C.

§1391 (b) because a substantial part of the events giving rise to this action occurred in

this District.

                                                                FACTS

        12.       On August 18, 2012, and at all times relevant herein, the Defendant, John

P. Clark, was operating a motor vehicle owned by the Defendant, Audrey S. Parent.

        13.       On August 18, 2012, and at all times relevant herein, the Defendant, John

P. Clark, was operating said motor vehicle with the knowledge, permission and authority

of the Defendant, Audrey S. Parent.

        14.       On August 18, 2012, and at all times relevant herein, the Defendant, John

P. Clark, was operating a motor vehicle owned by the Defendant, Gerald E. Parent.

        15.       On August 18, 2012, and at all times relevant herein, the Defendant, John

P. Clark, was operating said motor vehicle with the knowledge, permission and authority

of the Defendant, Gerald E. Parent.

        16.       On August 18, 2012, and at all times relevant herein, the Defendant, John

P. Clark, was operating a motor vehicle owned by the Defendant, Left Bank Gallery.

        17.       On August 18, 2012, and at all times relevant herein, the Defendant, John

P. Clark, was operating said motor vehicle with the knowledge, permission and authority

of the Defendant, Left Bank Gallery.




                                                                    3
                                  THE REARDON LAW FIRM, P.C.
                                                         A t t o r n e y s at La'W" 

  160 Hell.1.pstead Street   0   P.O. Draw-cr 1430   @    Nc-w- London~ CT 06320        f9   Tel. (860) 442-0444   <1&   Juris No. 102515

           Case 1:13-cv-11268-IT Document 1 Filed 05/28/13 Page 4 of 14



        18.     On August 18, 2012, and at all times relevant herein, the Defendant, John

P. Clark, was operating a motor vehicle owned by the Defendant, Left Bank Gallery of

Orleans.

        19.     On August 18, 2012, and at all times relevant herein, the Defendant, John

P. Clark, was operating said motor vehicle with the knowledge, permission and authority

of the Defendant, Left Bank Gallery of Orleans.

       20.      On August 18, 2012, and at all times relevant herein, the Defendant, John

P. Clark, was operating a motor vehicle owned by the Defendant, New England Clam

Products.

       21.      On August 18, 2012, and at all times relevant herein, the Defendant, John

P. Clark, was operating said motor vehicle with the knowledge, permission and authority

of the Defendant, New England Clam Products.

       22.      On August 18, 2012, and at all times relevant herein, the Defendant, John

P. Clark, was an agent, servant and/or employee of the Defendant, Audrey S. Parent,

and was acting within the course of his employment.

       23.      On August 18, 2012, and at all times relevant herein, the Defendant, John

P. Clark, was an agent, servant and/or employee of the Defendant. Gerald E. Parent,

and was acting within the course of his employment.

       24.      On August 18, 2012, and at all times relevant herein, the Defendant, John

P. Clark, was an agent, servant and/or employee of the Defendant, Left Bank Gallery,

and was acting within the course of his employment.




                              TIlE                                     FIRM        PC.
                                                       orneys at     aw
  160 Hempstead Street   e   P.O. Drawer 1430   ~   Ne"" London, CT 06320   Tel. (860) 442-0444   ~   Juris No. 102515
            Case 1:13-cv-11268-IT Document 1 Filed 05/28/13 Page 5 of 14
                                                          ,.


          25.     On August 18, 2012, and at all times relevant herein, the Defendant, John

P. Clark, was an agent, servant and/or employee of the Defendant, Left Bank Gallery of

Orleans, and was acting within the course of his employment.

          26.     On August 18, 2012, and at all times relevant herein, the Defendant, John

P. Clark, was an agent, servant and/or employee of the Defendant, New England Clam

Products, and was acting within the course of his employment.

          27.    On August 18, 2012, the Defendant, John P. Clark, was operating said

motor vehicle on Cove Road in Wellfleet, Massachusetts when, suddenly and without

warning, he drove that vehicle into the Plaintiffs, Amy Goott and Eugene Goott, who

were walking on the side of said road, causing them injuries and damages hereinafter

stated.

                                        FIRST COUNT: NEGLIGENCE

          1-27. Paragraphs one (1) through twenty-seven (27) of the Complaint are

hereby reincorporated and re-alleged as paragraphs one (1) through twenty-seven (27)

of the First Count as though fully set forth in the First Count.

          28.    The injuries and damages sustained by the Plaintiffs, Amy Goott and

Eugene Goott, were proximately caused by the negligence and carelessness of the

Defendant, John P. Clark, in that he:

                 a. 	 Failed to turn or stop said motor vehicle so as to avoid colliding with
                      pedestrians, including the Plaintiffs, in violation of Chapter 90, Section
                      14 of the Massachusetts General Laws;

                 b. 	 Failed to apply the brakes in a timely manner so as to avoid the
                      Plaintiffs in violation of Chapter 90, Section 14 of the Massachusetts
                      General Laws;

                 c. 	 Failed to apply the brakes before stopping said vehicle in violation of
                      Chapter 90, Section 14B of the Massachusetts General Laws;


                                                             5
                                THE REARDON LAW                                        p.e.
                                                      ttorneys a
  160 Hernpstcad StI'cet   c   P_O. Drawer 1430   $   New London, CT 06320   ~   TeL (860) 442-0444   ~   Juris No. 102515
Case 1:13-cv-11268-IT Document 1 Filed 05/28/13.'..' Page 6 of 14




    d, 	 Failed to keep a proper lookout and was inattentive in violation of
         Chapter 90, Section 7 of the Massachusetts General Laws;

    e, 	 Failed to keep said motor vehicle under reasonable and proper control
         in violation of Chapter 90, Section 7 of the Massachusetts General
         Laws;

    f. 	 Failed to equip or maintain said motor vehicle with adequate brakes in
         violation of Chapter 90, Section 7 of the Massachusetts General Laws;

    g. 	 Failed to equip or maintain said motor vehicle with an adequate horn in
         violation of Chapter 90, Section 7 of the Massachusetts General Laws;

    h. 	 Failed to operate said motor vehicle at a reasonable rate of speed in
         violation of Chapter 90, Section 17 of the Massachusetts General
         Laws;

    i.   Operated said vehicle at an unreasonable rate of speed having no
         regard for the traffic conditions then and there existing in violation of
         Chapter 90, Section 17 of the Massachusetts General Laws;

   j.    Operated said motor vehicle recklessly without having regard to the
         width, traffic, pedestrian traffic and use of said roadway in violation of
         Chapter 90, Section 18A of the Massachusetts General Laws;

    k. Failed to grant the right of way to the Plaintiffs in violation of Chapter
       90, Section 18A of the Massachusetts General Laws;

    I. 	 Failed to sound his horn or otherwise warn the Plaintiffs in violation of
         Chapter 90, Section 14 of the Massachusetts General Laws;

    m. 	Operated said motor vehicle while using a mobile telephone, or other
        handheld device capable of accessing the internet, to manually
        compose, send or read an electronic message while operating a motor
        vehicle in violation of Chapter 90, Section 138 of the Massachusetts
        General Laws;

    n. 	 Operated said motor vehicle negligently on a public way so as to
         endanger the lives or safety of the public, including the Plaintiffs, in
         violation of Chapter 90, Section 24(2)(a) of the Massachusetts General
         Laws;

   o. 	 Operated said motor vehicle recklessly on a public way so as to
        endanger the lives or safety of the public, including the Plaintiffs, in



                                     6
              TI-IE REARDON LAW                           P.C.
                                                   Tel. (860)   '~42-0444   @   Juris No. 102515
  Case 1:13-cv-11268-IT Document 1 Filed 05/28/13 Page 7 of 14



           violation of Chapter 90, Section 24(2)(a) of the Massachusetts General
           Laws;

      p. 	 Failed to turn or stop his motor vehicle so as to avoid a collision with
           pedestrians, including the Plaintiffs;

      q. 	 Failed to apply the brakes in a timely manner so as to avoid the
           Plaintiffs;

      r. 	 Failed to apply the brakes before stopping his vehicle;

      s. Failed to keep a proper lookout and was inattentive;

      t. 	 Failed to keep said motor vehicle under reasonable and proper control;

      u. Failed to equip or maintain said motor vehicle with adequate brakes;

      v. Failed to equip or maintain said motor vehicle with an adequate horn;

      w. Failed to operate said motor vehicle at a reasonable rate of speed;

      x. 	 Operated his motor vehicle at an unreasonable rate of speed having
           no regard for the traffic conditions then and there existing;

      y. 	 Operated his motor vehicle recklessly without having regard to the
           width, traffic, pedestrian traffic and use of the roadway;

      Z.   Failed to grant the right of way to the Plaintiffs;

      aa. Failed to sound his horn or otherwise warn the Plaintiffs;

      bb. Operated his motor vehicle while using a mobile telephone, or other
          handheld device capable of accessing the internet, to manually
          compose, send or read an electronic message while operating a motor
          vehicle;

      cc. Operated his motor vehicle negligently on a public way so as to
          endanger the lives or safety of the public, including the Plaintiffs;

      dd. Operated his motor vehicle recklessly on a public way so as to
          endanger the lives or safety of the public, including the Plaintiffs; and

      ee. Struck the Plaintiffs as they were walking down the street.

29.   As a result of the negligence, carelessness and statutory violations of said



                                        7
                THE REARDON LA"W                             P.C.
                                                      Tel. (860) 442-0444   ~   Juris No. 102515
           Case 1:13-cv-11268-IT Document 1 Filed 05/28/13 Page 8 of 14



Defendant, the Plaintiff, Amy Goott, sustained multiple injuries to the body including, but

not limited to, the ribs, spine, shoulder, and head, fractures, bruises, abrasions and

lacerations to the body, pain to the body including, but not limited to, the head,

shoulders, arms, hips, pelvis, and back, dizziness, difficulty sleeping, and difficulty

walking without assistance. The Plaintiff was taken from the scene by ambulance,

hospitalized and was required to undergo medical care and treatment including, but not

limited to, orthopedic treatment, diagnostic tests, x-rays, MRls, physical therapy,

rehabilitative treatment, and pain management as a result of said injuries. In all

likelihood, the Plaintiff's injuries are permanent in nature and will require additional

medical care in the future, including the possibility of surgery. In addition, she suffered,

and will in the future continue to suffer, great physical and mental pain and severe

emotional distress and has been and will in the future be unable to participate in many

of the activities in which she engaged prior to said incident.

        30.      As a result of the negligence, carelessness, and statutory violations of

said Defendant, the Plaintiff, Eugene Goott, sustained multiple injuries to the body

including, but not limited to, the ribs and shoulders, fractures, bruises, abrasions and

lacerations to the body, and pain to the body including, but not limited to, the ribs,

shoulders and back. The Plaintiff was taken from the scene by ambulance, hospitalized

and required to undergo medical care and treatment including, but not limited to,

surgery, orthopedic treatment, physical therapy, diagnostic tests, CT scans, x-rays,

MRls, and pain management as a result of said injuries. In all likelihood, the Plaintiff's

injuries are permanent in nature and will require additional medical care in the future. In

addition, he suffered, and will in the future continue to suffer, great physical and mental



                                                           8
                               TI-IE REARDON LAW                                     p.e.
                                                     orneys a
  160 Hetnpstead Street   0   P.O. Drawer 1430 •   Nevv London, CT 06320   $   TeL (860) 442-0444   ~   Juri" No. 10251
          Case 1:13-cv-11268-IT Document 1 Filed 05/28/13 Page 9 of 14



pain and severe emotional distress and has been and will in the future be unable to

participate in many of the activities in which he engaged prior to said incident.

        31.     As a further result of the negligence, carelessness and statutory violations

of said Defendant, the Plaintiffs, Amy Goott and Eugene Goott, both sustained

permanent and disfiguring scarring which has caused and will in the future continue to

cause them great humiliation and embarrassment.

       32.      As a further result of the negligence, carelessness and statutory violations

of said Defendant, the Plaintiffs, Amy Goott and Eugene Goott, were both required to

spend various sums of money for hospital, medical care, treatment, x-rays, MRls,

diagnostic studies, prescription medications and devices necessitated by their injuries

and will be obliged to spend further additional sums in the future for like services, all to

their loss and damage.

       33.      As a further result of the negligence, carelessness and statutory violations

of said Defendant, the Plaintiffs, Amy Goott and Eugene Goott, both suffer an increased

risk of future harm in that they have a greater susceptibility to further injury from trauma

which may occur in the future along with accompanying anxiety and fear concerning the

future in that regard.

       34.      At all times mentioned herein, the Plaintiffs, Amy Goott and Eugene Goott,

were both gainfully employed and as a further result of said incident and the injuries

resulting therefrom, the Plaintiffs lost time from their employment and thereby suffered

economic loss in the form of past and future lost wages.


                   SECOND COUNT: COMMON LAW RECKLESSNESS

       1-27. Paragraphs one (1) through twenty-seven (27) of the Complaint are


                                                               9
                              THE REARDON LAW                                         p.e.
                                                         orneys a      aw
  160 Hempstead Street   ~   P,O, Dra"Wel' 1430   G   Ne-w London, CT 06320 * Tel. (860) 442-0444 * ,hH:is No. 102515
         Case 1:13-cv-11268-IT Document 1 Filed 05/28/13 Page 10 of 14



hereby reincorporated and re-alleged as paragraphs one (1) through twenty-seven (27)

of the Second Count as though fully set forth in the Second Count.

       28.      The collision and resulting injuries and damages sustained by the

Plaintiffs, Amy Goott and Eugene Goott, were directly and proximately caused by the

recklessness of the Defendant, John P. Clark, in one or more of the following respects,

in that he:

       a. 	     Operated said motor vehicle recklessly without having regard to the width,
                traffic, pedestrian traffic and use of said roadway;

       b. 	     Operated said motor vehicle recklessly on a public way so as to endanger
                the lives or safety of the public, including the Plaintiffs;

       c. 	     Operated said motor vehicle recklessly without regard to pedestrians by
                backing said motor vehicle into a parking lot with conscious disregard for
                the safety of others when he knew or should have known that said
                roadway was traversed by many pedestrians, including the Plaintiffs;

       d. 	     Operated said motor vehicle recklessly with conscious disregard for the
                safety of others by failing to apply his brakes in a timely manner to avoid
                colliding with pedestrians, including the Plaintiffs; and

       e. 	     Operated said motor vehicle recklessly with conscious disregard for the
                safety of others by failing to sound his horn or otherwise warn the Plaintiffs
                that he was backing into an area that he knew or should have known was
                traversed by many pedestrians.

       31.      Said reckless conduct was a substantial factor in causing the collision and

the Plaintiffs' injuries and damages.

       32.      As a result of the reckless conduct of said Defendant, the Plaintiff, Amy

Goott, sustained multiple injuries to the body including, but not limited to, the ribs, spine,

shoulder, and head, fractures, bruises, abrasions and lacerations to the body, pain to

the body including, but not limited to, the head, shoulders, arms, tlips, pelvis, and back,

dizziness, difficulty sleeping, and difficulty walking without assistance. The Plaintiff was



                              THE 	                                                     P.C.
                                                       orneys at      a'W
  160 Hempstead Street   a   P.O. Dravver 1430   a   Nevv London, CT 06320   ~   Tel. (860) 442-0444   a   Juris No. 102515
         Case 1:13-cv-11268-IT Document 1 Filed 05/28/13 Page 11 of 14



taken from the scene by ambulance, hospitalized and was required to undergo medical

care and treatment including, but not limited to, orthopedic treatment, diagnostic tests,

x-rays, MRls, physical therapy, rehabilitative treatment, and pain management as a

result of said injuries. In all likelihood, the Plaintiff's injuries are permanent in nature and

will require additional medical care in the future, including the possibility of surgery. In

addition, she suffered and will in the future continue to suffer great physical and mental

pain and severe emotional distress and has been and will in the future be unable to

participate in many of the activities in which she engaged prior to said incident.

       33.      As a result of the reckless conduct of said Defendant, the Plaintiff, Eugene

Goott, sustained multiple injuries to the body including, but not limited to, the ribs and

shoulders, fractures, bruises, abrasions and lacerations to the body, and pain to the

body including, but not limited to, the ribs, shoulders and back. The Plaintiff was taken

from the scene by ambulance, hospitalized and required to undergo medical care and

treatment including, but not limited to, surgery, orthopedic treatment, physical therapy,

and pain management as a result of said injuries. In all likelihood, the Plaintiff's injuries

are permanent in nature and will require additional medical care in the future. In

addition, he suffered, and will in the future continue to suffer, great physical and mental

pain and severe emotional distress and has been and will in the future be unable to

participate in many of the activities in which he engaged prior to said incident.

       34.      As a further result of the reckless conduct of said Defendant, the Plaintiffs,

Amy Goott and Eugene Goott, both sustained permanent and disfiguring scarring which

has caused and will in the future continue to cause them great humiliation and

embarrassment.



                                                           11
                              TI--IE REARDON LAW
                                                      orneys a      aw
  160 Hempstead Street   ~   P.O. Dn,wer 1430   ~   New London, CT 06320 e Tel. (860) 442-0444   Juris No. 102515
                                                                                          ..
          Case 1:13-cv-11268-IT Document 1 Filed 05/28/13 Page 12 of 14
                                                                                            ,
                                  "

        35.     As a further result of the reckless conduct of said Defendant, the Plaintiffs,

Amy Goott and Eugene Goott, were both required to spend various sums of money for

hospital, medical care, treatment, x-rays, MRls, diagnostic studies, prescription

medications and devices necessitated by their injuries and will be obliged to spend

further additional sums in the future for like services, all to their loss and damage.

        36.     As a further result of the reckless conduct of said Defendant, the Plaintiffs,

Amy Goott and Eugene Goott, both suffer an increased risk of future harm in that they

have a greater susceptibility to further injury from trauma which may occur in the future

along with accompanying anxiety and fear concerning the future in that regard.

       37.      At all times mentioned herein, the Plaintiffs, Amy Goott and Eugene Goott,

were both gainfully employed and as a further result of said incident and the injuries

resulting therefrom, the Plaintiffs lost time from their employment and thereby suffered

economic loss in the form of past and future lost wages.




                                                               12
                               THE REARDON LAW                                            P.C.
                                                           orneys a
  160 Hen'pstead Street   &   P,O, Dra""",,, l430   0   Ne"" London. CT 06320   ~   TeL (860) 442-0444   e   Juri" No, 102515
          Case 1:13-cv-11268-IT Document 1 Filed 05/28/13 Page 13 of 14



        WHEREFORE, the Plaintiffs, Amy Goott and Eugene Goott, pray for relief

against the Defendants as follows:

        1)      Compensatory Damages in excess of the amount required for federal

diversity jurisdiction and in an amount to fully compensate the Plaintiffs for all their

injuries and damages, both past and present, together with interest;

        2)      Special damages, in excess of the amount required for federal diversity

jurisdiction and in an amount to fully compensate the Plaintiffs for all their injuries and

damages, both past and present including, but not limited to, past and future medical

expenses, costs for past and future rehabilitation, lost income, permanent disability,

pain and suffering, mental distress and loss of the ability to carry out all of life's

activities;

        3)       Punitive Damages;

        4)      Attorneys fees, expert witness fees, expenses and costs;

        5)      Pre-judgment and post-judgment interest in the maximum amount allowed

by law; and

        6)      Such relief as the Court deems necessary, just and proper.



   THE PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL CLAIMS ASSER·rED IN

                                             "rHEIR COMPLAINT.




                                                            13
                               THE REARDON LAW                                    pc.
                                                       orneys a
  160 Hernpstead Street   e   P.O. Drawer 1430   G   New London, CT 06320   TeL (860) 442-0444   0   Juris No. 102515
         Case 1:13-cv-11268-IT Document 1 Filed 05/28/13,· .
Page 14 of 14      .




                                                              Respectfully Submitted, 

                                                              AMY GOOTT AND EUGENE GOOTT 

Dated: MAY 28,2013                                            By their Attorney, 



                                                                lsI Sarah A. McNeely
                                                              Sarah A. McNeely BBO# 685097
                                                              THE REARDON LAW FIRM, P.C.
                                                              160 Hempstead Street
                                                              P.O. Drawer 1430
                                                              New London, CT 06320
                                                              Tel: (860) 442-0444
                                                              Fax: (860) 444-6445
                                                              Email: smcneely@reardonlaw.com




                                                        14
                           THE REARDON LAW FIRM                               p.e.
                                                   orneys a      a-w
 160 Hel'npstead Street   P.O. Drawer 1430   ~   New London, CT 06320   TeL (860) 442·0444   m   Juris No. 102515
